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              IN THE UNITED STATES DISTRICT COURT
           FOR THE EASTERN DISTRICT OF PENNSYLVANIA

EDWARD A. WILLIAMS               :
            Plaintiff            :   Civil Action No. 17-CV-2641
                                 :
            v.                   :
                                 :
MERRICK GARLAND, et al.          :   Judge John Milton Younge
           Defendants            :


    PLAINTIFF’S BRIEF IN SUPPORT OF HIS THIRD MOTION FOR
                     SUMMARY JUDGMENT
                                       TABLE OF CONTENTS


I.    INTRODUCTION ........................................................................................... 1

II. PROCEDURAL HISTORY ........................................................................... 2

III. FACTUAL BACKGROUND ......................................................................... 3

IV. STATEMENT OF QUESTIONS INVOLVED ............................................ 5

V. STANDARD OF REVIEW ............................................................................ 6

VI. ARGUMENT .................................................................................................. 7

       a. The Proper Analysis Post-Bruen ............................................................. 7

             i. The Purchasing, Possessing, Carrying, and Utilizing of a Firearm is
                Covered by the Second Amendment .................................................... 9

             ii. The Government Cannot Establish that Section 922(g)(1), Facially or
                 As-Applied to Mr. Williams, is Consistent with the Nation’s Tradition
                 of Firearm Regulation .......................................................................... 9

                 1. DUI is Not a Crime that is Tethered to a “National Tradition” of
                    Keeping Firearms Out of the Hands of Those Likely to Commit
                    Violent Crimes .............................................................................. 14

                 2. The Government Does Not Believe Individuals in Mr. Williams’
                    Position (Or Even Those Having Committed For More Egregious
                    Acts) Should be Stripped of Their Right to Keep and Bear Arms in
                    Perpetuity ...................................................................................... 16

                 3. In the Alternative, Mr. Williams Can Distinguish Himself for his
                    As-Applied Challenge .................................................................... 23

VII. CONCLUSION ............................................................................................ 26




                                                          ii
                                        TABLE OF AUTHORITIES

Cases

Anderson v. Liberty Lobby, Inc., 477 U.S. 242 (1986) ............................................. 6

Begay v. United States, 553 U.S. 137 (2008) ......................................................... 15

Binderup v. Attorney Gen. United States, 836 F.3d 336 (3d Cir. 2016) ........... 14, 20

Caetano v. Massachusetts, 577 U.S. 411 (2016) .................................................. 7, 9

Celotex Corp. v. Catrett, 477 U.S. 317 (1986) ......................................................... 6

District of Columbia v. Heller, 554 U.S. 570 (2008) ............................... 7, 9, 10, 12

Ezell v. City of Chicago, 651 F.3d 684 (7th Cir. 2011) .......................................... 12

Guidotti v. Legal Helpers Debt Resolution, L.L.C., 716 F. 3d 764 (3d
 Cir. 2013) ............................................................................................................... 6

Heller v. District of Columbia, 670 F.3d 1244 (D.C. Cir. 2011) ............................ 10

Illinois Ass’n of Firearms Retailers, 961 F. Supp. 2d 928 (N.D. Ill.
   2014) .................................................................................................................... 12

Layshock ex rel. Layshock v. Hermitage Sch. Dist., 650 F.3d 205 (3d
 Cir. 2011) ............................................................................................................... 6

Leocal v. Ashcroft, 543 U.S. 1 (2004) .................................................................... 15

Malloy v. Hogan, 378 U.S. 1 (1964)....................................................................... 11

Marks v. United States, 430 U.S. 188 (1977) ......................................................... 14

McDonald v. City of Chicago, 561 U.S. 742 (2010) .............................................. 11

New York State Rifle & Pistol Ass’n v. Bruen, 142 S. Ct. 2111 (2022)........... passim

Ramos v. Louisiana, 140 S.Ct. 1390 (2020) ........................................................... 11

Reeves v. Sanderson Plumbing Prods., Inc., 530 U.S. 133 (2000)........................... 6




                                                              iii
Sovereign Bank v. BJ’s Wholesale Club, Inc., 533 F.3d 162 (3d Cir.
  2008) ...................................................................................................................... 6

Sprint Communications Co. v. APCC Servs., Inc., 554 U.S. 269 ........................... 10

Timbs v. Indiana, 139 S.Ct. 682 (2019) .................................................................. 11

United States v. Doe, 960 F.2d 221 (1st Cir. 1992) ................................................. 15

United States v. Duvall, 740 F.3d 604 (D.C. Cir. 2013) ......................................... 14

United States v. Skoien, 614 F.3d 638 (7th Cir. 2010) ............................................ 20



Statutes

18 U.S.C. § 16......................................................................................................... 15

18 U.S.C. § 924....................................................................................................... 15

18 U.S.C. § 925........................................................................................... 16, 19, 20

Pub. L. No. 87-342, 75 Stat. 757 (1961)................................................................. 13



Rules

234 Pa. Code Ch 3, Rule 312 .................................................................................... 4

Fed. R. Civ. P. 56 ...................................................................................................... 6




                                                              iv
      Plaintiff Edward A. Williams, by and through his counsel, hereby submits

this Brief in Support of his Third Motion for Summary Judgment.



I.        INTRODUCTION

      Plaintiff Edward A. Williams (hereinafter “Mr. Williams” or “Plaintiff”) has

filed suit, complaining that the Defendants have collectively and individually

prohibited a particular class of persons, including himself, from obtaining,

possessing, keeping, bearing, or otherwise utilizing firearms and ammunition as a

result of a misdemeanor driving under the influence (hereinafter “DUI”)

conviction, where no one was injured and where no property damage resulted, in

violation of his Second Amendment Rights. Mr. Williams only desires to exercise

his core, fundamental, individual right to purchase, possess, and utilize a firearm

for purposes of self-defense of himself and his family. Statement of Material Facts

(hereinafter, “SOMF”), ¶¶ 14, 24.

      Consistent with the U.S. Supreme Court’s decision in New York State Rifle

& Pistol Ass’n v. Bruen, 142 S. Ct. 2111 (2022), it is clear that the Defendants’

enforcement of such a prohibition violates Mr. Williams’s fundamental

constitutional right to keep and bear arms as provided for in the Second

Amendment. In fact, there can be no dispute, post-Bruen, that there is nothing in

the Constitution’s text nor the Nation’s historical tradition of firearm regulation –


                                          1
as established by the Bruen decision – that supports the categorical ban that the

prior and continuing enforcement of Defendant’s law imposes on Mr. Williams

and as such, Defendants’ law is violative of the Second Amendment



II.        PROCEDURAL HISTORY

       Mr. Williams initiated this litigation by filing suit on June 1, 2017. 1 The

Government responded by filing a motion to dismiss on September 14, 2017. 2

Thereafter, Plaintiff contemporaneously filed a brief in opposition to the

Government’s motion to dismiss and the underlying motion for summary judgment

on October 13, 2017. 3 This Honorable Court issued two orders on December 1,

2017, denying the Government’s motion to dismiss and denying, without

prejudice, the Plaintiff’s motion for summary judgment as premature. 4 Thereafter,

in October of 2018, cross-motions for summary judgment were filed 5 and the

Honorable Robert F. Kelly issued an Order and Decision on April 1, 2019, denying

Mr. Williams’ motion and granting the Governments’ motion. 6

       An appeal followed to the Third Circuit, which initially affirmed Judge

Kelly’s decision; however, after Plaintiff petitioned for reconsideration en banc,

1
  See Doc. 1.
2
  See Doc. 5.
3
  See Docs. 8 and 9-2.
4
  See Docs. 13 and 14.
5
  See Docs. 29 and 30.
6
  See Docs. 43 and 44.

                                           2
the Third Circuit vacated both its and this Court’s prior decisions and “remanded to

the District Court for reconsideration in light of the United States Supreme Court’s

decision in N.Y. State Rifle & Pistol Ass’n, Inc. v. Bruen, 142 S. Ct. 2111 (2002).” 7

After a status conference on October 6, 2022, where the Parties agreed that there

were no outstanding discovery or other matters and that the matter was ripe for

cross-summary judgment motions, this Court entered a briefing order on October

11, 2022. 8



III.       FACTUAL BACKGROUND


        In 2000, Mr. Williams was pulled over and subsequently arrested and

charged with DUI. 9 At the time of Mr. Williams’ first DUI, Pennsylvania law

made it a crime to operate a vehicle with a blood alcohol content greater than .10.
10
     Mr. Williams was successfully entered into Pennsylvania’s ARD program,

which required him to serve 12 months probation, attend an alcohol class, driver’s

safety class, and pay all of the associated court costs and fines. 11 After successful

completion of the ARD program, Mr. Williams’ charge was expunged and his




7
  See Doc. 53.
8
  See Doc. 58.
9
  See SOMF at ¶ 1-3.
10
   Id. at ¶ 3.
11
   Id. at ¶ 4.

                                           3
driver’s license restored. 12 ARD does not result in a conviction, if successfully

completed. 13

       On September 7, 2004, Mr. Williams was pulled over by the Philadelphia

Police Department and subsequently arrested and charged with DUI. 14 Mr.

Williams was found guilty and was sentenced to “passive house arrest until

electronic monitor[ing] is available” for 90 days, ordered to pay costs, a fine of

$1,500.00, and complete any recommended drug and alcohol treatment. 15

       At no point, in relation to the two instances of DUI, did any property

damage or any injury to another occur. 16 Moreover, Mr. Williams has held a job as

a construction manager for the past twenty-nine (29) years, where he has managed

projects, which include the Curran-Fromhold Correctional Facility, PA Convention

Center, Septa Railworks project, the Commodore Barry Bridge, Interstate 95 and

the NJ Transportation maintenance facilities. 17 Mr. Williams is tasked with field

inspections, project management, cost control, problem solving, developing and




12
   Id. at ¶ 6. See also Mr. Williams’s Pennsylvania State Police Background Check, which is
attached hereto and incorporated herein as Exhibit A.
13
   Id. at ¶ 5. See also 234 Pa. Code Ch 3, Rule 312, Note 1 “Although acceptance into an ARD
program is not intended to constitute a conviction under these rules, it may be statutorily
construed as a conviction for purposes of computing sentences on subsequent convictions. See
e.g., 75 Pa.C.S. § 3806(a).” (Emphasis added).
14
   Id. at ¶ 7.
15
   Id. at ¶ 8. See also Doc. 1-1 at 7.
16
   Id. at ¶ 9.
17
   Id. at ¶ 11-12.

                                              4
maintaining CPM project schedules for contractors and relaying updates during the

construction period. 18

        In or about late December of 2014, Mr. Williams, concerned for the safety

of himself and his family, attempted to procure a License to Carry Firearms

(“LTCF”) and was denied. 19 After challenging the denial, he was only made aware

that he was prohibited from obtaining a LTCF. 20 It was not until Mr. Williams

spoke with Attorney Joshua Prince on or about November 5, 2015, that for the first

time, he was informed that his sole conviction in 2004 for DUI was a federally

prohibiting offense, which prevented him from lawfully possessing firearms and

ammunition. 21 As a result, Mr. Williams brought the underlying action that is

before the Court.



IV.          STATEMENT OF QUESTIONS INVOLVED

             1. Does the Defendants’ prohibition on Mr. Williams, and those
                similarly situated, from obtaining, possessing, keeping, bearing, or
                otherwise utilizing firearms and ammunition as a result of an isolated
                misdemeanor DUI conviction violate his Second Amendment rights?

                  Suggested Answer in the Affirmative




18
   Id. at ¶ 13.
19
   Id. at ¶ 14.
20
   Id. at ¶ 15.
21
   Id. at ¶ 16.

                                            5
V.        STANDARD OF REVIEW

      Summary judgment is appropriate if the moving party establishes “that there

is no genuine dispute as to any material fact and the movant is entitled to judgment

as a matter of law.” Fed. R. Civ. P. 56(a). A dispute is “genuine” only if there is a

sufficient evidentiary basis for a reasonable jury to find for the non-moving party,

and a fact is “material” only if it might affect the outcome of the action under the

governing law. See Sovereign Bank v. BJ’s Wholesale Club, Inc., 533 F.3d 162,

172 (3d Cir. 2008) (citing Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248

(1986)). A court should view the facts in the light most favorable to the non-

moving party while not evaluating the credibility or weighing the evidence. See

Guidotti v. Legal Helpers Debt Resolution, L.L.C., 716 F. 3d 764, 772 (3d Cir.

2013) (citing Reeves v. Sanderson Plumbing Prods., Inc., 530 U.S. 133, 150

(2000)). “The mere existence of some alleged factual dispute between the parties

will not defeat an otherwise properly supported motion for summary judgment.”

Layshock ex rel. Layshock v. Hermitage Sch. Dist., 650 F.3d 205, 211 (3d Cir.

2011) (quoting Anderson, 477 U.S. at 247-48) (internal quotations omitted).

      If the movant carries its initial burden of showing the basis of its motion, the

burden shifts to the non-moving party to go beyond the pleadings and point to

“specific facts showing that a genuine issue exists for trial.” Celotex Corp. v.

Catrett, 477 U.S. 317, 323–24 (1986).


                                          6
VI.      ARGUMENT

         a. The Proper Analysis Post-Bruen

      The Second Amendment provides that “the right of the people to keep and

bear Arms, shall not be infringed.” U.S. CONST. amend. II. Prior to the Court’s

recent decision in Bruen, it had already explicitly held that the Second Amendment

protects one’s right to a firearm – especially a handgun – in one’s home, to “wear,

bear, or carry…upon the person or in the clothing or in a pocket, for the…of being

armed and ready for offensive or defensive action” and “guarantee[s] the

individual right to possess and carry weapons in case of confrontation.” District of

Columbia v. Heller, 554 U.S. 570, 584, 592 (2008); see also Caetano v.

Massachusetts, 577 U.S. 411, 413-14 (2016)(Alito J., concurring) (holding that the

Second Amendment also protects the right to possess and use stun guns in public).

The issue that predominated the federal courts, pre-Bruen, was the appropriate

analysis or framework a court was to utilize when assessing a Second Amendment

challenge.

      The Court in Bruen, beyond declaring on several occasions that the Second

Amendment was the codification of “a pre-existing right” (142 S.Ct. at 2127, 2130,

2135, 2145), explained that “when the Second Amendment’s plain text covers an

individual’s conduct, the Constitution presumptively protects that conduct.” 142

S.Ct. at 2126. To counter this presumptive protection, the government must


                                         7
“affirmatively prove that its firearms regulation is part of the historical tradition

that delimits the outer bounds of the right to keep and bear arms.” Id. at 2127. In

fact, Bruen could not be clearer in its holding that it is the government that bears

the burden of justifying its firearm regulations. See id. at 2130 (“The government

must then justify its regulation by demonstrating that it is consistent with the

Nation's historical tradition of firearm regulation.”); id. at 2135 (explaining “the

burden falls on respondents”); id. at 2138 (holding that “respondents have failed to

meet their burden to identify an American tradition” (emphasis added)).

      While the Bruen Court eschewed a two-step analysis, several courts, post-

Bruen, have nevertheless instituted a two-step analysis, whereby, the challenger

must first establish that his/her conduct is covered by the Second Amendment and

thereafter, once establishing such, requiring the government to prove that its

regulation is consistent with the historical tradition. Accordingly, Mr. Williams

will proceed under this potential two-step analysis, even though, there cannot be

any real dispute that his proposed conduct – purchasing, possessing, carrying, and

utilizing firearms for purposes of self-defense – is covered by the Second

Amendment, based on the binding precedent from the U.S. Supreme Court.




                                           8
                  i. The Purchasing, Possessing, Carrying, and Utilizing of a
                     Firearm is Covered by the Second Amendment


       As addressed supra, the U.S. Supreme Court in Heller,22 Caetano, and

Bruen has already held that the Second Amendment protects the right of an

individual to have a firearm in his/her home and out in public for purposes of self-

defense. As Mr. Williams only desires to exercise his core, fundamental, individual

right to purchase, possess, and utilize a firearm for purposes of self-defense of

himself and his family (SOMF, ¶¶ 14, 24), there cannot be any dispute that his

desired conduct is covered by the Second Amendment.



                 ii. The Government Cannot Establish that Section 922(g)(1),
                     Facially or As-Applied to Mr. Williams, is Consistent with the
                     Nation’s Tradition of Firearm Regulation

       As addressed supra, Bruen could not be clearer in its holding that it is the

government that bears the burden of justifying that its firearm regulation “is part of

the historical tradition that delimits the outer bounds of the right to keep and bear

arms.” 142 S.Ct. at 2127, 2130, 2135, 2138. While the burden is clearly on the

Defendants to establish that their law is consistent with the Nation’s historical

tradition of firearm regulation, there is simply no way for them to establish any

historical tradition, as there exist no historical tradition of firearm disarmament

22
  As the Heller Court declared, “the Second Amendment right is exercised individually and
belongs to all Americans.” 554 U.S. at 581.

                                              9
laws relative to being in or on any mode of conveyance – e.g. horseback – while

intoxicated.

      In addressing what constitutes the Nation’s historical tradition of firearm

regulation, Bruen explains that “when it comes to interpreting the Constitution, not

all history is created equal.” Id. at 2136. That is why courts “must . . . guard against

giving postenactment history more weight than it can rightly bear.” Id. “As [the

Court] recognized in Heller itself, because post-Civil War discussions of the right

to keep and bear arms came ‘75 years after the ratification of the Second

Amendment, they do not provide as much insight into its original meaning as

earlier sources.’” Id. at 2137 (quoting Heller, 554 U.S. at 614); see also Sprint

Communications Co. v. APCC Servs., Inc., 554 U.S. 269, 312 (Roberts, C.J.,

dissenting) (“The belated innovations of the mid- to late-19th-century courts come

too late to provide insight into the meaning of [the Constitution in 1787]”). In fact,

“post-ratification adoption or acceptance of laws that are inconsistent with the

original meaning of the constitutional text obviously cannot overcome or alter that

text.” Bruen, 142 S. Ct. at 2137 (quoting Heller v. District of Columbia, 670 F.3d

1244, 1274, n. 6 (D.C. Cir. 2011) (Kavanaugh, J., dissenting)).

      Bruen thus establishes that this Court must prioritize Founding era evidence,

while evidence from around the “mid- to late- 19th century” is at most

“secondary.” Id. at 2137. “19th-century evidence [is] treated as mere confirmation



                                          10
of what the Court thought had already been established” in the Founding era. Id.

(emphasis added). This makes sense because the “individual rights enumerated in

the Bill of Rights and made applicable against the States through the Fourteenth

Amendment have the same scope as against the Federal Government.” Id. (citing

Ramos v. Louisiana, 140 S.Ct. 1390, 1397 (2020); Timbs v. Indiana, 139 S.Ct. 682,

686–687 (2019); Malloy v. Hogan, 378 U.S. 1, 10–11 (1964)). And regardless of

any other debate, there is no dispute that 1791 is when the Bill of Rights limited

the Federal Government. Thus, in order to ensure uniformity of incorporated rights

with respect to the Federal Government and the States, 1791 is the relevant time to

“peg[] . . . the public understanding of the right.” Bruen, 142 S. Ct. at 2137; see

also McDonald v. City of Chicago, 561 U.S. 742, 765 (2010) (noting the Court’s

“decisive[]” holding “that incorporated Bill of Rights protections ‘are all to be

enforced against the States . . . according to the same standards that protect those

personal rights against federal encroachment’” (quoting Malloy, 378 U.S. at 10)).23

       While the historical tradition need not be a “historical twin,” the tradition of

a state, 24 around the time of Founding, must, at a minimum, be a historical

analogue to be relevant. Id. at 2126, 2133. But a single historical analogue around

the time of Founding of a state is not a tradition; rather, it is a mere aberration or
23
   As the extensive historical analysis of the Reconstruction period in McDonald shows, the
evidence around Reconstruction is most relevant to determining whether a right has been
incorporated, 561 U.S. at 777, while the content of that right is the public understanding in 1791.
24
   See Bruen, 142 S. Ct. at 2154-55 (finding the statutes of territories deserving of “little weight”
because they were “localized,” and “rarely subject to judicial scrutiny”).

                                                11
anomaly, with no followers. 25 Even two or three historical analogues of the states

around the time of Founding are at best a trend and not a tradition,26 especially

when short-lived. 27

       And what laws, around the time of Founding, does the Government contend

are consistent with the “Nation’s historical tradition of firearm regulation”? In

relation to their prior briefing, none. In fact, the first federal law – the Federal

Firearms Act (hereinafter “FFA”) 28 – which barred certain felons from possessing

firearms was enacted in 1938, which, as discussed infra, the Bruen Court declared

to be of no value in establishing a historical tradition, as it only came into being in

the mid-twentieth century. Bruen, 142 S.Ct. at 2137. 29 The FFA specifically made

it unlawful for any person who was under indictment or convicted of a crime of

violence or a fugitive from justice to shop, transport or receiver a firearm or

ammunition. Moreover, the law defined a crime of violence to mean:



25
   See Heller, 554 U.S. at 632 (2008) (“[W]e would not stake our interpretation of the Second
Amendment upon a single law ... that contradicts the overwhelming weight of other evidence.”)
26
   See Ezell v. City of Chicago, 651 F.3d 684, 706 (7th Cir. 2011) (finding that two historical
statutes “falls far short of establishing that [a regulated activity] is wholly outside the Second
Amendment as it was understood” in 1791); Illinois Ass’n of Firearms Retailers, 961 F. Supp. 2d
928, 937 (N.D. Ill. 2014) (“[C]itation to a few isolated statutes—even to those from the
appropriate time period—fall[s] far short of establishing that gun sales and transfers were
historically unprotected by the Second Amendment”) (internal quotation marks omitted).
27
   See Bruen, 142 S. Ct. at 2155 (“[T]hese territorial restrictions deserve little weight because
they were . . . short lived.”)
28
   A copy of the Federal Firearms Act of 1938 is attached hereto and incorporated herein as
Exhibit B.
29
   Emphasizing this point even more, the Court declared that even early-nineteenth century laws
could only be used to confirm what had “already been established” in the Founding area. Id.

                                               12
              murder, manslaughter, rape, mayhem, kidnapping, burglary,
              housebreaking; assault with intent to kill, commit rape or rob; assault
              with a dangerous weapon, or assault with intent to commit any offense
              punishable by imprisonment for more than one year. 30

       Notably absent from those who were prohibited from possessing firearms

and ammunition were those convicted of non-violent offenses. It was not until

1961 that Congress took action to bar non-violent felons from possessing firearms

and ammunition. 31 Thus, approximately 170 years passed from the time the Bill of

Rights became effective until the time where individuals who were not violent

felons (and misdemeanants) were barred from possessing firearms and

ammunition. 32 At the time Mr. Williams was charged with the prohibiting offense,

the prohibition against non-violent felons had only been in place for approximately

42 years. 33 From a historical analysis, even if, arguendo, one were to ignore the

Bruen Court’s command not to consider laws enacted after the early-19th century,

the prohibition that prevents Mr. Williams from possessing firearms or ammunition

accounts for a period of time less than 20% of the total period of time in which the

right to keep and bear arms was codified in the Bill of Rights. 34 There is simply no

way, especially in light of the Bruen command, for this to constitute a historical

tradition of firearm regulation. Moreover, per the Third Circuit – in a pre-Bruen,
30
   Exhibit B at 1.
31
   See Pub. L. No. 87-342, 75 Stat. 757 (1961)
32
   Actual time was 169 years, 9 months and 18 days.
33
   Actual time was 42 years, 11 months and 5 days.
34
   See Bruen, 142 S.Ct. at 2127, 2130, 2135, 2145, declaring that the Second Amendment was
the mere codification of a “pre-existing right.”

                                             13
limited analysis – historical evidence suggests that the only individuals who were

categorically barred from possessing firearms were those who committed violent

offenses. 35

                           1. DUI is Not a Crime that is Tethered to a “National
                              Tradition” of Keeping Firearms Out of the Hands of
                              Those Likely to Commit Violent Crimes


       While pre-Bruen and without the Bruen mandated historical analysis, the

Third Circuit previously explained that “[p]eople who have committed or are likely

to commit ‘violent offenses’—crimes ‘in which violence (actual or attempted) is an

element of the offense,’ … lack Second Amendment rights.’” 36, 37 While the

Government previously set forth a number of arguments for the proposition that

Mr. WIlliams’ sole DUI conviction was a serious crime, it offers nothing to show

that a DUI qualifies as a “violent offense” – a burden, per Bruen, it is required to

establish, assuming, arguendo, that there exists, under a post-Bruen historical

analysis, that individuals, around the time of Founding, could be stripped of their



35
   Binderup v. Attorney Gen. United States, 836 F.3d 336, 348 (3d Cir. 2016).
36
   Id. (Internal citation omitted).
37
   While it is not clear that this statement is supportable under a post-Bruen historical analysis, as
the Binderup majority and dissent all agree on this point, based upon the “all opinions” approach
to identifying the controlling test in split decisions of Marks v. United States, 430 U.S. 188
(1977) and United States v. Duvall, 740 F.3d 604, 611 (D.C. Cir. 2013) (Kavanaugh, J.,
concurring), the controlling rule of Binderup is that only people who have committed violent
offenses lose their Second Amendment rights. As Mr. Williams has never committed a violent
offense, he takes no position as to whether an individual can be stripped of a constitutional right
if he/she committed a violent offense.

                                                 14
Second Amendment rights as a result of a violent offense. Perhaps more

importantly, Mr. Williams has never been convicted of a violent offense.

       There are several other factors Mr. Williams can point to in order to bolster

the claim that a DUI is not a violent offense. First, none of the elements of

Pennsylvania’s DUI statute involve or makes reference to the use, attempted use,

or threatened use of physical force against another. 38 The Supreme Court of the

United States proclaimed that a DUI fell outside the scope of the Armed Career

Criminal Act’s definition of a “violent felony.” 39 The Supreme Court also found

that DUI was not within the definition of a “crime of violence” as defined by 18

U.S.C. § 16. 40 While the entire gamut of crimes involving violence has not been

delineated, there are certain elements such as the use, attempted use, or threatened

use of physical force, which are necessary in order to qualify. 41 Clearly, a DUI

falls outside the scope of a “violent offense.”

       Justice Scalia’s concurring opinion in Begay v. United States, 553 U.S. 137,

153-154 (2008) also sheds some light as to the seriousness of DUI.

               The Government cites the fact that in 2006, 17,062 persons died from
               alcohol-related car crashes, and that 15,121 of those deaths involved
               drivers with blood-alcohol concentrations of 0.08 or higher. Drunk

38
   See 75 Pa.C.S. § 3802
39
   See Begay v. United States, 553 U.S. 137, 148 (2008)
40
   See Leocal v. Ashcroft, 543 U.S. 1, 10 (2004)
41
   See also United States v. Doe, 960 F.2d 221, 225 (1st Cir. 1992) (observing that the term
“violent felony” in 18 U.S.C. § 924(e) “calls to mind a tradition of crimes that involve the
possibility of more closely related, active violence”).

                                                15
              driving is surely a national problem of great concern. But the fact that
              it kills many people each year tells us very little about whether a
              single act of drunk driving “involves conduct that presents a serious
              potential risk of physical injury to another.” It may well be that an
              even greater number of deaths occurs annually to pedestrians crossing
              the street; but that hardly means that crossing the street presents a
              serious potential risk of injury. Where the issue is “risk,” the annual
              number of injuries from an activity must be compared with the annual
              incidents of the activity. Otherwise drunk driving could be said to
              pose a more serious risk of physical harm than murder. In addition,
              drunk driving is a combination of two activities: (1) drinking and (2)
              driving. If driving alone results in injury in a certain percentage of
              cases, it could hardly be said that the entirety of the risk posed by
              drunk driving can be attributed to the combination. 42


                         2. The Government Does Not Believe Individuals in Mr.
                            Williams’ Position (Or Even Those Having Committed
                            For More Egregious Acts) Should be Stripped of Their
                            Right to Keep and Bear Arms in Perpetuity

       Prior to 1993, ATF regularly conducted federal firearms relief

determinations as provided for by 18 U.S.C. § 925(c); however, ATF no longer is

able to conduct these determinations because Congress has inserted language into

the appropriations bill which states “[p]rovided further, That none of the funds

appropriated herein shall be available to investigate or act upon applications for

relief from Federal firearms disabilities under 18 U.S.C. 925(c).” 43 However,


42
  Internal citations omitted. (emphasis added).
43
  https://fas.org/sgp/crs/misc/R44686.pdf at 24. See also The Consolidated Appropriations Act,
2018, Pub. L. No. 115–141, 132 Stat. 348.


                                              16
before Congress prohibited ATF from conducting those determinations, ATF

granted relief to 7,722 individuals from 1968 to 1992 for a multitude of different

crimes, 44 some of which were identical to and some far more egregious than Mr.

Williams’ – in fact, some had more than six separate federal prohibitions 45 and



44
   See, 34 Fed. Reg. 10006 (June 28, 1969), 34 Fed. Reg. 12229 (July 24, 1969), 36 Fed. Reg.
20449 (Oct. 22, 1971), 36 Fed. Reg. 21364 (Nov. 6, 1971), 36 Fed. Reg. 22321 (Nov. 24, 1971),
36 Fed. Reg. 23731 (Dec. 14, 1971), 37 Fed. Reg. 23 (Jan. 4, 1972), 37 Fed. Reg. 2893 (Feb.9,
1972), 37 Fed. Reg. 4921 (Mar. 7, 1972), 37 Fed. Reg. 6361 (Mar. 28, 1972), 37 Fed. Reg. 6769
(Apr. 4, 1972), 37 Fed. Reg. 7168 (Apr. 11, 1972), 37 Fed. Reg. 8403 (Apr. 26, 1972), 37 Fed.
Reg. 10406 (May 20, 1972), 37 Fed. Reg. 11790 (June 14, 1972), 37 Fed. Reg. 13352 (July 7,
1972), 37 Fed. Reg. 15009 (July 27, 1972), 37 Fed. Reg. 16113 (Aug. 10, 1972), 37 Fed. Reg.
18636 (Sept. 14, 1972), 37 Fed. Reg. 23462 (Nov. 3, 1972), 37 Fed. Reg. 26352 (Dec. 9, 1972),
37 Fed. Reg. 28640 (Dec. 28, 1972), 38 Fed. Reg. 1944 (Jan. 19, 1973), 38 Fed. Reg. 3414 (Feb.
6, 1973), 38 Fed. Reg. 4524 (Feb.15, 1973), 38 Fed. Reg. 4583 (Feb. 16, 1973), 38 Fed. Reg.
8071 (Mar. 28, 1973), 38 Fed. Reg. 14299 (May 31, 1973), 39 Fed. Reg. 9212 (Mar. 8, 1974), 41
Fed. Reg. 7550 (Feb. 19, 1976), 41 Fed. Reg. 50368 (Nov. 15, 1976), 42 Fed. Reg. 21156 (Apr.
25, 1977), 43 Fed. Reg. 25755 (June 14, 1978), 43 Fed. Reg. 51736 (Nov. 6, 1978), 44 Fed. Reg.
71492 (Dec. 11, 1979), 45 Fed. Reg. 6878 (Jan. 30, 1980), 45 Fed. Reg. 26868 (Apr. 21, 1980),
45 Fed. Reg. 39998 (June 12, 1980), 45 Fed. Reg. 49733 (July 25, 1980), 45 Fed. Reg. 65393
(Oct. 2, 1980), 45 Fed. Reg. 76838 (Nov. 20, 1980), 46 Fed. Reg. 11751 (Feb. 10, 1981), 46 Fed.
Reg. 23646 (Apr. 27, 1981), 46 Fed. Reg. 33410 (June 29, 1981), 46 Fed. Reg. 46456 (Sept. 18,
1981), 46 Fed. Reg. 57812 (Nov. 25, 1981), 47 Fed. Reg. 10132 (Mar. 9, 1982), 47 Fed. Reg.
47714 (Oct. 27, 1982), 48 Fed. Reg. 10508 (Mar. 11, 1983), 48 Fed. Reg. 28385 (June 21, 1983),
48 Fed. Reg. 29650 (June 27, 1983), 48 Fed. Reg. 36720 (Aug. 12, 1983), 48 Fed. Reg. 50977
(Nov. 4, 1983), 49 Fed. Reg. 25060 (June 19, 1984), 49 Fed. Reg. 29503 (July 20, 1984), 49 Fed.
Reg. 35707 (Sept. 11, 1984), 49 Fed. Reg. 48252 (Dec. 11, 1984), 50 Fed. Reg. 1026 (Jan. 8,
1985), 50 Fed. Reg. 23374 (June 3, 1985), 54 Fed. Reg. 33108 (Aug. 11, 1989), 54 Fed. Reg.
43378 (Oct. 24, 1989), 55 Fed. Reg. 5939 (Feb. 20, 1990), 55 Fed. Reg. 14549 (Apr. 18, 1990),
55 Fed. Reg. 33208 (Aug. 14, 1990), 55 Fed. Reg. 48951 (Nov. 23, 1990), 56 Fed. Reg. 14971
(Apr.12, 1991), 56 Fed. Reg. 26713 (June 10, 1991), 56 Fed. Reg. 36865 (Aug. 1, 1991), 56 Fed.
Reg. 65926 (Dec. 19, 1991), 57 Fed. Reg. 6160 (Feb. 20, 1992).
45
   See 36 F.R. 22321 (Morrow, Clyde Franklin), 37 F.R. 18636 (Cook, Judson Vernon. Jr.), 46
F.R. 46456 (Crawford, Cleo J., Metz, Ira G.), 48 F.R. 28385 (Blackburn, Vaughn), 49 F.R.
25060 (Karl, Earl Jerome), 49 F.R. 29503 (Adams, Richard Gerald), and 55 F.R. 14549 (Search,
Herman Samuel).

                                              17
some had been convicted of vehicular homicide while DUI. 46 See Federal Register

List attached hereto and incorporated herein as Exhibit D.

       Unfortunately, the Federal Register publications do not specify the crime,

which the individual was convicted of but rather only specify the date of

conviction and court where they were convicted for which relief was granted. The

Plaintiff sought records from a sampling of several courts to identify the types of

crimes individuals had previously been convicted of and were subsequently

granted relief in relation to, after ATF determined, pursuant to 27 CFR. 478.144,

that that the individual would “not be likely to act in a manner dangerous to public

safety, and that the granting of the relief would not be contrary to the public

interest.” 47 Unfortunately, there is no way – other than contacting the court of

conviction relative to each individual’s offense(s) and attempting to procure any

records that may still exist – for the Plaintiff to identify all the other individuals

who were convicted of DUI (such as the offense Mr. Williams was convicted of)

46
   See the Court records of John Kraszewski, granted relief on February 20, 1992 (57 F.R. 6160-
02), from a 1984 Pennsylvania conviction, which included one count of homicide by vehicle,
attached hereto and incorporated herein as Exhibit E. See also the Court records of Kim Blake,
granted relief on August 11, 1989 (54 F.R. 33108), from a 1981 Pennsylvania conviction, which
included one count of homicide by vehicle, attached hereto and incorporated herein as Exhibit F.
47
   Noteworthy is the language utilized in the earlier publications of the Federal Register for
grants of relief. “Notice is hereby further given that I have considered [name’s] application and
have found: (1) The conviction was made upon a charge which did not involve the use of a
firearm or other weapon or a violation of Chapter 44, Title 18, United States Code, or of the
National Firearms Act; and (2) It has been established to my satisfaction that the circumstances
regarding the conviction and the applicant’s record and reputation, are such that the applicant
will not be likely to act in a manner dangerous to public safety, and that the granting of the
requested relief to [name] from disabilities incurred by reason of his conviction, would not be
contrary to the public interest.” See 34 F.R. 12229.

                                               18
and subsequently granted relief from the information contained in the Federal

Register.


                                 A. John Kraszewski and Kim Blake

       Mr. Kraszewski was granted federal firearms relief on February 20, 1992

from a 1984 Pennsylvania conviction. 48 The court records show that Mr.

Kraszewski had been charged with and pled guilty to one count of driving under

the influence and one count of homicide by vehicle. 49 Likewise, Kim Blake was

granted relief from a conviction in 1981 of homicide by vehicle and DUI.50

       While the previously Government contended that individuals, like Mr.

Williams, should not be allowed to exercise their Second Amendment rights, it

finds itself in an untenable position having granted relief to at least two individuals

who not only were convicted of DUI but also homicide by vehicle, where the court

records establish that homicide by vehicle was the result of their driving under the

influence. 18 U.S.C. § 925(c) required ATF to find the individual would not be

“likely to act in a manner dangerous to public safety and that the granting of the

relief would not be contrary to the public interest.” Even though Mr. Kraszewski

was responsible for the loss of life through his actions, ATF determined that he

should be granted relief and that such was not contrary to the public interest.


48
   57 F.R. 6160-02.
49
   See Exhibit E. See also Exhibit D (57 FR 6160).
50
   See Exhibit F. See also Exhibit D (54 FR 33108).

                                              19
       While Plaintiff acknowledges that § 925(c) does not control this challenge,

the Defendants are unable to show that Mr. Williams is likely to act in a manner

dangerous to public safety as there is no evidence of record to support such a

proposition and in fact, as discussed infra, there is evidence of record – the

psychological evaluation of Mr. Williams by Psychologist Robert Gordon – that

Mr. Williams is not likely to act in a manner dangerous to public safety. Moreover,

the Third Circuit has stated that the intended purpose of § 922(g)(1) is to

“promot[e] public safety by ‘preventing armed mayhem’” 51 and there is no

evidence of record that Mr. Williams is likely to act in manner causing armed

mayhem.

                                  B. Barry Shoop

       Mr. Shoop was granted federal firearms relief on April 11, 1977 from a 1975

Pennsylvania driving under the influence conviction, which was prohibiting like

Mr. Williams’. 52 A copy of the records obtained from the court in relation to Mr.

Shoop are attached hereto and incorporated herein as Exhibit G.

       Here, again, is another example of an individual who was convicted of DUI,

who was later granted relief by ATF, finding that Mr. Shoop would not be “likely




51
   Binderup, 836 F.3d at 353. (quoting United States v. Skoien, 614 F.3d 638, 642 (7th Cir.
2010)).
52
   42 F.R. 21156.

                                               20
to act in a manner dangerous to public safety and that the granting of the relief

would not be contrary to the public interest.”



                                   C. Carl Fareri 53

       Mr. Fareri was granted federal firearms relief on November 23, 1990 from a

1984 conviction. 54 The court records show that Mr. Fareri was convicted of

felonious burglary twice, felonious conspiracy, theft by unlawful taking or

disposition and receiving stolen property. A copy of the records obtained from the

court in relation to Mr. Fareli are attached hereto and incorporated herein as

Exhibit H.

       While Mr. Fareri’s crimes are not directly related to DUI, it does show that

even when an individual committed a crime that is considered to be felonious in

nature and deprives an individual of his/her property, that the grant of relief was

not considered contrary to the public safety or interest. 55



                                   D. Charles Spangler

       Mr. Spangler was granted federal firearms relief on June 10, 1991 from five

53
   The court records reflect a spelling of “Fareli” and “Fareri,” but it is believed that the proper
spelling is “Fareri”.
54
   55 F.R. 48951-03 (spelled “Fareri” in the publication).
55
   Plaintiff also obtained records for Ronald Sahara Brown, who was convicted of felonious
larceny from a person in 1973, felonious possession of heroin in 1975 and felonious larceny in a
building in 1977 and William White, who was convicted of felonious larceny of a truck in 1965
and a prior felonious juvenile burglary.

                                                 21
convictions in 1963, 1965, and 1985. 56 Mr. Spangler had been convicted of

adultery, statutory rape, contributing to the delinquency of a minor, possession of a

firearm and resisting an officer. A copy of the records obtained from the court in

relation to Mr. Spangler are attached hereto and incorporated herein as Exhibit I.

       Mr. Spangler’s multiple convictions show that not only did his crimes cover

a broad spectrum, but that ATF considered an individual who had five convictions

ranging from statutory rape to resisting an officer to be of such little threat to

society that the restoration of his right to own and possess firearms and

ammunition would not be contrary to the public safety or interest. Most interesting

is that Mr. Spangler’s last conviction was a mere six (6) years prior to him being

granted relief and it was for the possession of a firearm and resisting an officer.

       Mr. Spangler is not the only individual who had multiple prohibiting

convictions and who was granted relief by ATF. The Federal Register denotes

numerous instances where an individual who had multiple prohibiting convictions

was granted federal firearms relief. 57


56
  56 F.R. 26713-02.
57
  See 36 F.R. 20449, 36 F.R. 22321, 36 F.R. 23731, 37 F.R. 10406, 37 F.R. 11790, 37 F.R.
13352, 37 F.R. 15009, 37 F.R. 16113, 37 F.R. 18636, 37 F.R. 23, 37 F.R. 23642, 37 F.R. 26352,
37 F.R. 28640, 37 F.R. 2893, 37 F.R. 4921, 37 F.R. 6361, 37 F.R. 6769, 37 F.R. 7168, 37 F.R.
8403, 38 F.R. 14299, 38 F.R. 1944, 38 F.R. 3414, 38 F.R. 4524, 38 F.R. 4583, 38 F.R. 8071, 39
F.R. 9212, 41 F.R. 50368, 41 F.R. 7550, 42 F.R. 21156, 43 F.R. 25755, 43 F.R. 51736, 44 F.R.
71492, 45 F.R. 26868, 45 F.R. 39998, 45 F.R. 49733, 45 F.R. 65393, 45 F.R. 6878, 45 F.R.
76838, 46 F.R. 11751, 46 F.R. 23646, 46 F.R. 33410, 46 F.R. 46456, 46 F.R. 57812, 47 F.R.
10132, 47 F.R. 47714, 47 F.R. 47714, 48 F.R. 10508, 48 F.R. 28385, 48 F.R. 29650, 48 F.R.
36720, 48 F.R. 50977, 49 F.R. 25060, 49 F.R. 29503, 49 F.R. 35707, 49 F.R. 48252, 50 F.R.

                                             22
                         3. In the Alternative, Mr. Williams Can Distinguish Himself
                            for his As-Applied Challenge

       In the event, arguendo, that this Court finds a historical tradition of firearm

regulation that precludes Mr. Williams’ facial challenge, he can distinguish himself

from that historical tradition. Specifically, on August 7, 2018, Robert Gordon,

Ph.D., ABPP, a Board certified clinical psychologist, conducted an examination of

Mr. Williams, which consisted of an interview, a battery of psychological tests,

and rating Mr. Williams on a psychodiagnostic chart, for the purposes of

determining whether Mr. Williams “is fit to be allowed to own, possess, carry, and

use a firearm without risk to him or any other person.” 58 In forming his opinion, in

additional to the tests performed, Mr. Gordon reviewed a number of documents,

including the Defendants’ Expert Report.

       The report generated by Mr. Gordon identifies numerous deficiencies with

the previous Expert Report for the Defendants prepared by Dr. Webster, ScD.

Particularly that

              While Dr. Webster presents some valid correlation research groupings
              of individuals it has a relatively small predictive value in generalizing
              to groups and does not predict the effect of two DUI’s from 14-18
              years ago, especially when the individual has no history of aggression.
              As Dr. Webster did not assess Mr. Williams, these generalizations are
              not relevant to this particular case, as any applicability would require

1026, 50 F.R. 23374, 54 F.R. 33108, 54 F.R. 43378, 55 F.R. 14549, 55 F.R. 33208, 55 F.R.
48951, 55 F.R. 5939, 56 F.R. 14791, 56 F.R. 26713, 56 F.R. 36865, 56 F.R. 65926, and 57 F.R.
6160.
58
   See Exhibit C. (Emphasis added).

                                             23
                 an independent evaluation of the particular person. As set forth in this
                 forensic report…the research relied upon by Dr. Webster is not
                 applicable to Mr. Williams. 59

Further, Mr. Gordon also identified that Dr. Webster’s report:


      1. Is premised on individuals who suffer from alcohol or abuse issues; and

          there is no evidence that Mr. Williams currently suffers from any alcohol or

          dependency issues;

      2. Contends there exists a statistical significance in relation to reduction of

          future violent crime when those previously convicted of a violent crime were

          barred from purchasing a handgun; however, there is no evidence Mr.

          Williams has been charged with, let alone, convicted of a violent crime;

      3. Contends that 54% of repeat DUI offenders have an alcohol dependency

          issue, which leaves 46% without a dependency issue;

      4. Fails to support a finding that alcohol-impairment and/or abuse are causal to

          unintentional firearm injuries or deaths and acknowledges a lack of data

          supporting that proposition;

      5. Contends that individuals previously convicted of a misdemeanor crime of

          violence are more likely to commit crime in the future and then opines that




59
     Id. at 7. (Emphasis added).

                                             24
        prohibitions against individuals like Mr. Williams prove a public safety

        benefit, even though Mr. Williams was never convicted of such an offense.60


Mr. Gordon’s report summarizes that Mr. Williams has “no history of hostile or

violent behaviors nor a continuing pattern of aggressive behaviors, which could be

a predictive factor.” 61 The summarization also concludes that “[a]lthough the

research cited by Dr. Webster sheds light on some predictive factors, the prediction

is low...Dr. Webster is not a psychologist and did not perform a psychological

assessment of Mr. Williams’ mental status…Therefore, his report has no value for

this particular case, in the absence of an independent evaluation of Mr.

Williams…” 62 Mr. Gordon’s report concludes that Mr. Williams “has a normal

personality, without psychopathology and without addition or violent

tendencies.” 63



                       *            *            *            *



        Accordingly, consistent with Bruen, as the Government is unable to

establish any historical tradition of firearm disarmament laws relative to being in

or on any mode of conveyance while intoxicated or even more broadly for non-

60
   Id. at 7-8.
61
   Id. at 11.
62
   Id.
63
   Id. at 11-12.

                                          25
violent behavior, Mr. Williams, and those similarly situated, are being

unconstitutionally denied their right to keep and bear arms and are entitled to

declaratory and injunctive relief.



VII.      CONCLUSION


       For the foregoing reasons, the Mr. Williams’ Motion for Summary Judgment

should be granted.




                                                  Respectfully Submitted,
Dated: December 6, 2022

                                                  __________________________

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                                         26
